       Case 3:19-cv-04613-WHA Document 91 Filed 05/11/21 Page 1 of 3



 1   TIMOTHY KELLY
     State Bar No. 304840
 2    1403 Spyglass Parkway
      Vallejo, CA 94591
 3    Telephone: (707) 570-7507
      Fax: (888) 828-0728
 4    E-mail: tskelliot@gmail.com
     Attorney for Plaintiff Easton Stokes
 5

 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11

12
     EASTON STOKES,                                           3:19-cv-04613-WHA
13
                                              Plaintiff, STIPULATION TO EXTEND TIME
14                                                       FOR OPPOSITIONS AND REPLIES TO
                     v.                                  CROSS-MOTIONS FOR SUMMARY
15                                                       JUDGMENT; [PROPOSED] ORDER
16   THE UNITED STATES DEPARTMENT                             Judge:       Hon. William Alsup
     OF JUSTICE, WILLIAM BARR,
17   individually and as Attorney General of the
     United States, THE U.S. BUREAU OF
18   ALCOHOL, TOBACCO, FIREARMS AND
     EXPLOSIVES (ATF); REGINA
19   LOMARDO individually and as Acting
     Director of ATF; THE FEDERAL
20   BUREAU OF INVESTIGATION;
     Christopher Wray individually and as
21   Director of the Federal Bureau of
     Investigation; STATE OF CALIFORNIA,
22   ROB BONTA, 1 individually and acting as
     Attorney General of the State of California,
23   THE SONOMA COUNTY SHERIFF'S
     OFFICE, MARK ESSICK, individually and
24   as Sheriff of Sonoma County,
25                                          Defendants.
26

27
             1
             Attorney General Rob Bonta is hereby substituted for former Attorney General Xavier
28   Becerra. See Fed. R. Civ. P. 25(d).
                                                          1
     Stipulation to Extend Time to Respond to Cross-Motions For Summary Judgment (3:19-cv-04613-WHA)
        Case 3:19-cv-04613-WHA Document 91 Filed 05/11/21 Page 2 of 3



 1          Plaintiff Easton Stokes and Federal and State Defendants hereby stipulate and request that

 2    the time within which parties may file and serve oppositions and replies to the pending cross-

 3    motions for summary judgment, shall be extended from May 13, 2021 and May 20, 2021

 4    respectively, to May 27, 2021 and June 7, 2021 respectively, pursuant to Local Rule 6-1. The

 5    parties also request a continuance of the hearing date. There have been no prior stipulations

 6    extending these deadlines.

 7          Plaintiff’s counsel has required this extension of time as a result of being in Nepal and

 8    being unable to return home as early as expected due to the grounding of all flights due to the

 9    Covid-19 outbreak. Counsel for all parties have agreed to this continuance.

10          Respectfully submitted,

11

12
     Dated: May 11th, 2021
13                                                      STEPHANIE M. HINDS
14                                                      Acting United States Attorney
                                                        By:      /s/ Julie Bibb Davis
15                                                      JULIE BIBB DAVIS
                                                        Assistant United States Attorney
16                                                      Attorneys for Federal Defendants
17                                                       ROB BONTA
                                                         Attorney General of California
18                                                       ANTHONY R. HAKL
                                                         Supervising Deputy Attorney General
19

20                                                             /s/ Jerry T. Yen
                                                         JERRY T. YEN
21                                                       Deputy Attorney General
                                                         Attorneys for Defendants State of California and
22                                                       Rob Bonta, in his official capacity as California
                                                         Attorney General
23
      Dated: May 11th, 2021                              LAW OFFICES OF TIMOTHY KELLY
24

25

26                                                       /s/ Timothy Kelly
                                                         TIMOTHY KELLY
27                                                       Attorney for Plaintiff Easton Stokes
28
                                                          2
      Stipulation to Extend Time to Respond to Cross-Motions For Summary Judgment (3:19-cv-04613-WHA)
       Case 3:19-cv-04613-WHA Document 91 Filed 05/11/21 Page 3 of 3



 1                                          [PROPOSED] ORDER
 2

 3           Pursuant to stipulation, and good cause appearing therefore, IT IS HEREBY ORDERED

 4   that the time for the Parties to submit their oppositions to the cross-motions for summary

 5   judgment is now extended to May 27, 2021 and the time for Parties to submit their replies is
 6   extended to June 7, 2021. The Hearing Date is now set for ___________________.
 7

 8   IT IS SO ORDERED.

 9
     DATED: __________________.                              __________________
10
                                                             HONORABLE WILLIAM ALSUP
11                                                           UNITED STATES DISTRICT JUDGE

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         3
     Stipulation to Extend Time to Respond to Cross-Motions For Summary Judgment (3:19-cv-04613-WHA)
